                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                 SOUTHERN DIVISION
                                  No. 7:17-cv-00071-FL

JOHNNY SMALL                                   )
                                               )
                                               )
                                               )
               v.                              )   NOTICE OF SPECIAL APPEARANCE
                                               )
CITY OF WILMINGTON, ET AL.                     )
                                               )
                                               )


       Please take notice that the undersigned Katie Roche hereby enters a notice of special

appearance as counsel for Johnny Small in the above-captioned matter, in association with Local

Civil Rule 83.1(d) counsel, David S. Rudolf.

       I certify that I will submit any document to Local Civil Rule 83.1(d) counsel for review

prior to filing the document with the court.

       Dated this 14th day of March, 2018.

                                                    /s/ Katie Roche
                                               Katie Roche
                                               Loevy & Loevy
                                               311 N Aberdeen St., 3rd Fl.
                                               Chicago, IL 60607
                                               Ph: 312-243-5900
                                               Fax: 312-243-5902
                                               Katie@loevy.com
                                               Illinois ARDC. No. 6321395
                                               Attorney for Plaintiff Johnny Small


                                                   /s/ David S. Rudolf
                                               David S. Rudolf
                                               Rudolf Widenhouse
                                               225 East Worthington Ave.
                                               Ste. 200
                                               Charlotte, NC 28203




           Case 7:17-cv-00071-FL Document 42 Filed 03/14/18 Page 1 of 3
                             704-333-9945
                             Fax: 704-335-0224
                             dsrudolf@rudolfwidenhouse.com
                             North Carolina Bar. No. 8587
                             Local Civil Rule 83.1(d) Counsel for Plaintiff
                             Johnny Small




                            2
Case 7:17-cv-00071-FL Document 42 Filed 03/14/18 Page 2 of 3
                                     Certificate of Service

       I, Katie Roche, hereby certify that I have served a copy of the foregoing Notice of Special

Appearance on March 14, 2018 via the Court’s CM/ECF system on all counsel of record.

Insert name of attorneys and any party who appears pro se.


                                                     /s/ Katie Roche
                                                Katie Roche
                                                Loevy & Loevy
                                                311 N Aberdeen St., 3rd Fl.
                                                Chicago, IL 60607
                                                Ph: 312-243-5900
                                                Fax: 312-243-5902
                                                Katie@loevy.com
                                                Illinois ARDC. No. 6321395
                                                Attorney for Plaintiff Johnny Small


                                                    /s/ David S. Rudolf
                                                David S. Rudolf
                                                Rudolf Widenhouse
                                                225 East Worthington Ave.
                                                Ste. 200
                                                Charlotte, NC 28203

                                                704-333-9945
                                                Fax: 704-335-0224
                                                dsrudolf@rudolfwidenhouse.com
                                                North Carolina Bar. No. 8587
                                                Local Civil Rule 83.1(d) Counsel for Plaintiff
                                                Johnny Small




                                      3
          Case 7:17-cv-00071-FL Document 42 Filed 03/14/18 Page 3 of 3
